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                                       IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                                                                               ?018APR-2 PHI):22
                                                                                                                                                              COURT
Dector 1          Crystal Dianne Ray                                                                                                                   '1.A
                  First Name                  MiOOM Nam«



                                                                                                                 52 Check ifthis is an amended plan.




                                                           Chapter 13 Plan and Motion
            [Pursuaiu to Fed. R, Bankr. P. 3015,1. the Southern District of Georgia Genera! Order 2017-3 adopts this fonn in lieu ofthe Official Form 113],
           Notices. Dcbtor{s) must check one box on each line to state whether or not the plan Includes each of the following
           items. If an item is checked as not being contained in the plan or if neither or both boxes are checked, the provision
           will be ineffective if set out in the plan.
           (a) This plan:        □ contains nonstandard provisions. See paragraph 15 below.
                                 El does not contain nonstandard provisions.

           (b) This plan:        Q values the claim(s) that secures collateral. See paragraph 4(f) below.
                                 SI does not value claim(s) that secures collateral.

           (c) This plan:        □ seeks to avoid a lien or security interest. See paragraph 8 below.
                                 El does not seek to avoid a lien or security interest.
           Plan Payments.

           (a) The Debtor(s) shall pay to the Chapter 13 Trustee (the "Trustee") the sum of S810 for the applicable commitment period of:
               □ 60 months; or                                                                 (If applicable include the following: These plan
                                                                                               payments will change to S            monthly on _
               El a minimum of 36 months. See II U.S.C. § 1325(b)(4).                          .20        .)

           (b) The payments under paragraph 2(a) shall be paid:
               (a Pursuant to a Notice to Commence Wage Withholding, the Debtor(s) request(s) that the Trustee serve such Notice(s)
                   upon the Debtor's(s') employer(s) as soon as practicable after the filing of this plan. Such Notice(s) shall direct the
                   Debtor's(s') employer(s) to withhold and remit to the Trustee a dollar amount that corresponds to the following
                   percentages of the monthly plan payment:
                                 El Debtor 1 100%            □ Debtor 2                    %

               □ Direct to the Trustee for the following reason(s):
                                 Li The Debtor(s) receive(s) income solely from self-employment, Social Security, government assistance,
                                     or retirement.
                                 O The Debtor(s) assert(s) that wage withholding is not feasible for the following reason(s):


           (c) Additional Payments of S                          (estimated amount) will be made on                                       (anticipated date)
               from                                         (source, including income tax refunds).

           Long-Term Debt Payments.
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       (a)   Maintenance of Current Installment Payments. I he Debtor(s) will make monthly payments in the manner specified as
             lollous on the folloxving long-term debts pursuant to 11 U.S.C. 1322(b)(5). These postpetition payments will be
             disbursed by either the Tmstee or directly by the Debtor(s), as specified below. Postpetition payments are to be applied to
             postpetition amounts owed for principal, interest, authorized postpetition late charges and escrow, if applicable. Conduit
             payments that are to be made by the Trustee which become due after the filing of the petition but before the month of the
             first payment designated here will be added to the prepetition arrearage claim.
                                                                                    PAYMHNl.S 10131:    MONTH OF FIRST
                                                                       FRINCIPAI.   MADE BY             posTPErrrioN           INITIAL
                                                                       RHSIDLNCL    (TRUSTLE OR         PAYMENT TO             MONTHLY
                                     COLi AifcRAi.                                  DEBTORtSn           CREDITOR               PAYMENT
      Ditech Financial LLC           Home -- 528 Hardy        Drixe                 trustee             5'1/2()18              420.00
                                     Cirovctown GA .^0813
      Allied LLC                     None- Student Loan                             trustee             5/1/2018               28.00



       (b) Cure of Arrearage on Long-Term Debt. Pursuant to 11 U.S.C. § 1322(bX5), prepetition arrearage eiaints will be paid
             in full through disbursements by the Trustee, with interest (if any) at the rate stated below. Prepetition atrearaee
             payments are to be applied to prepetition amounts owed as evidenced by the allowed claim.
                                     DHSCRIPIION OF                   PRINCIPAL         ESTJ.MA TED AMOUN T     IN l EREST RATH ON
     CREDITOR                        COl.LATERAL                      RESIDENCE fV/N)   OF ARREARAGE            ARREARAGE Ofapplicablei
     Ditech Financial LLC            Home - 528 Hardy        Drive                      8554
                                     Groxctoxxn GA 30813




4.
       IthenUs'e"'                                                     ^™«ee shall make disbursements as follows unless designated
      (a) Trustee's Fees. The Trustee percentage fee as set by the United States T rustee.
      (b) Attorney's Fees. Attorney's fees alloxved pursuant to 11 U.S.C.§ 507(a)(2)ofS
      (c) Priority Claims. Other 11 U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the life
           ofthe plan as funds become available in the order specified by law.
      (d) Fully Secured Allowed Claims. All alloxxed claims that are fully secured shall be paid through the plan as set forth below.
     CREDITOR                       DESCRIPTION OF COLI ATERAl
                                                                          ESjlMATED CLAIM       INTEREST RATE        MONTHI Y PAVMIM
     litlemax                       2005 Toyota Sequoia                   1689                 2                     47.00



      (e) Secured Claims Excluded from 11 U.S.C. § 506 (those claims subject to the hanging paragraph of 11 U.S.C. §
          1325(a)). The claims listed below were either: (1) incurred within 910 days before the petition date and secured by a
          purchase money security interest in a motor vehicle acquired for the personal use ofthe Debtor(s), or(2)incurred within 1
          year ofthe petition date and secured by a purchase money security interest in any other thing of value. These claims will
          be paid in full under the plan with interest at the rate stated below:
     CRLDirOR                       DESCRIPTION OF COIT ATFRAl
                                                                                                                    .MON ITlI.Y PAY.MEN 1




     (0 Valuation of Secured Claims to Which 11 U.S.C. § 506 is Applicable. The Debtor(s) move(s) to value the claims
        partially^cured by collateral pmsuant to 11 U.S.C. § 506 and provide payment in satisfaction ofthose claims as set forth
        below Tta unsecured poniOT ofany bifurcated claims set forth below will be paid pursuant to paragraph 4(h)below The
        plan shall be served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b),and the Debtor(s)shall     a
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          certificate of service.

                                                                        VALUATION OF
     CREDITOR                       DESCRIPTION OF COl.EATERAI.         SECURED CLAIM       INTEREST RATE      MONTHLY PAYMENT




     (g) Special Treatment of Unsecured Claims. The following unsecured allowed claims are classified to be paid at 100%
         □ with interest at          % per annum or ill without interest:
          Wells Fargo S173.00, First Premier Bank $451.00, Assetcare LLC $306.00, Nationwide Recovery n $639.00

      (h) General Unsecured Claims. Allowed general unsecured claims, including the unsecured portion of any bifurcated claims
          provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a        % dividend or a pro rata share of
          S             , whichever is greater.

5.    Executory Contracts.
      (a) Maintenance of Current Installment Payments or Rejection of Executory Contract(s) and/or Unexpired Lease(s).
                                    DESCRIPTION OF PROPERTY/SERVICES          ASSUMED/      MONTHLY        DISBURSED BY TRUSTEE
     CREDITOR                       AND CONTRACT                              REJECTED      PAYMENT        OR DEBTORlSl




      (b) Treatment of Arrearages. Prepetition arrearage claims will be paid in full through disbursements by the Trustee.
     CREDITOR                                      ESTIMATED ARREARAGE




6.    Adequate Protection Payments.         The Debtor(s) will make pre-confirmation lease and adequate protection payments
      pursuant to 11 U.S.C. § 1326(a)(1) on allowed claims of the following creditors: □ Direct to the Creditor; or □ To the
      Trustee.

     CREDITOR                                      ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT




7.    Domestic Support Obligations. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of
      such claim identified here. See 11 U.S.C. § 101(14A). The Trustee will provide the statutory notice of 11 U.S.C. § 1302(d) to
      the following claimant(s):
     CLAIMANT                                      ADDRESS




8.    Lien Avoidance. Pursuant to 11 U.S.C. § 522(f), the Debtor(s) move(s) to avoid the lien(s) or security interest(s) of the
      following creditor(s), upon confirmation but subject to 11 U.S.C. § 349, with respect to the property described below. The plan
      shall be served on all affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach a
      certificate of service.

     CREDITOR                                      LIEN IDENTIFICATION (if known)            PROPERTY
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         Surrender of Collateral. The following coliaieral is surrendered lo the creditor to satisty the secured claim to the extent
         siiown below upon confirmation of the plan. The Debtor(s) request{s) that upon confirmation of this plan the stay under 11
         U.S.C. cj 362(a) be lenninated as to the collateral only and that the stay under 11 U.S.C. § 1301 be terminated in all respects.
         Any allowed deficiency balance resulting Ifom a creditor's disposition of the collateral will be treated as an unsecured claim in
         paragraph 4(h) of this plan if the creditor amends its previously-filed, timely claim within 180 days from entry of the order
         confirming this plan or by such additional time as the creditor may be granted upon motion filed within that 180-day period.
      CRHDirOR                                         Dl-SCRIH i ION 01 COLI.A 11:R.AL             AMOLNT 01- CLAIM SAIISI-IED




10.      Retention of Liens. Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided b\
         11 U.S.C § 1325(a)(5).

11.      Amounts of Claims and Claim Objections. The amount, and secured or unsecured status, of claims disclosed in this plan are
         based upon the best estimate and belief of the Debtor(s). An allowed proofofclaim will supersede those estimated claims. In
         accordance w ith the Bankruptcy Code and Federal Rules of Bankruptcy Procedure, objections to claims may be filed before or
         after confirmation.


12.      Payment Increases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan
         proposes, after notice from the Trustee and a hearing if necessary, unless a plan modification is approved.

13.      Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shall not pay any fees, expenses, or charges disclosed by a
         creditor pursuant to Fed. R. Bankr. P. 3002.1(c) unless the Debtor*s(s') plan is modified after the filing ofthe notice to provide
         for payment of such fees, expenses, or charges.

14.      Service of Plan. Pursuant to Fed. R. Bankr, P. 3015(d) and General Order 2017-3, the Debtor(s) shall serve the Chapter 13
         plan on the Trustee and all creditors when the plan is filed with the court, and file a certificate of service accordingly. If the
         Debtor(s) seek(s) to limit the amount of a secured claim based on valuation of collateral (paragraph 4(f) above), seek(s) to
         avoid a security interest or lien (paragraph 8 above), or seek(s) to initiate a contested matter, the Debtor(s) must serve the plan
         on the affected creditors pursuant to Fed. R. Bankr. P. 7004. See Fed. R. Bankr. P. 3012(b), 4003(d), and 9014.

15.      Nonstandard Provisions. Under Fed. R. Bankr. P. 3015(c), nonstandard provisions must be set forth below. A nonsiandard
         provision is a provision not otherw ise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere in
         this plan are void.




By signing below, 1 certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.


Dated:   1. 1 ^                                                                                                A
                                                                                             r           Debtor I



                                                                                                         Debtor 2




                                                                                                 Attorneyfor the Debtor(s)
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                                                                              Case No 18-10347



                                 CERTIFICATE OF SERVICE

  I hereby certify that on 3/21/2018, a copy of the foregoing Chapter 13 Plan and Motion
sent to the following:

Ditech Financial LLC                                 W-l/'oN Ic
1100 Virginia Drive Suite 100A
Fort Washington PA 19084
                                                     Po             2.1 2 n

Titlemax
3S£^rightsboro Rd
Augusta GA 30909
Assetcare LLC
Lee Morris 2222 Tekoma Pkwy Suite 180
                                                             oi^ n-ve: us
Sherman TX 75090
                                                     wt(4/s/jo^
Nationwide Recovery
PO Box 8005
Cleveland TN 37320                                                    ^                    2(^-^3
Wells Fargo
PO Box 14517
Des Moines lA 50306

First Premier Bank                                                                     *ZcL
                                      piaaA/wCi'^c
3820 N Louise Ave
                             f    pc^ Gaiz.                              GA
Sioux Falls SO 67107
                                    C«1^/ ,
Allied LLC
PO Box 361445
                                                                                 y\r^
Columbus OH 43236                                                        f Ci (3xi^           {

by first-class U.S. Mail, postage prepaid and properly addressed.
                                                                         OU                        ;vjy |(a:jY-c;o:^
                                                                          (yu^        0\/vov-V£:
Signed                                    Case No 18-10347                       )!xSk
Crystal Dianne Ray                    f
528 Hardy Drive
Grovetown GA 30813
